                  Case
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                                                                                         S.D.N.Y. – N.Y.C.
                                                                                               17-cv-1789
                                                                                                   Cote, J.

                              United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
                                            _________________

                    At a stated term of the United States Court of Appeals for the Second
      Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
      in the City of New York, on the 20th day of November, two thousand twenty.

      Present:
                     Dennis Jacobs,
                     Rosemary S. Pooler,
                     Raymond J. Lohier, Jr.,
                          Circuit Judges.                                                    Nov 20 2020



      United States Securities and Exchange Commission,

                                    Plaintiff-Appellee,

                     v.                                                           20-1854

      Vali Management Partners, DBA Avalon Fa LTD, et al.,*

                                    Defendants-Appellants.


      Appellee moves for a limited remand of the case to the district court pursuant to United States v.
      Jacobson, 15 F.3d 19, 21–22 (2d Cir. 1994). Upon due consideration, it is hereby ORDERED that
      the motion is DENIED insofar as the remand sought is pursuant to Jacobson, but is otherwise
      GRANTED and the case is REMANDED to the district court for a determination of whether its
      judgment in this case is consistent with the decision of the Supreme Court in Liu v. Securities and
      Exchange Commission, 140 S. Ct. 1936 (2020), and, if appropriate, entry of an amended judgment.
      Following the district court’s new determination, either party may appeal in the normal course.

                                                   FOR THE COURT:
                                                   Catherine O’Hagan Wolfe, Clerk of Court




      *   The caption for this appeal has been abbreviated for purposes of this order.



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